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                                                                [Doc. No.      ]

                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE

STRIKE 3 HOLDINGS, LLC,       :
                              :
               Plaintiff,     :
                              :
     v.                       :            Civil No. 19-00894 (NLH/JS)
                              :
JOHN DOE SUBSCRIBER ASSIGNED :
IP ADDRESS 73.194.76.148,     :
                              :
               Defendant.     :
______________________________:

                                   O R D E R

      This matter is before the Court on a remand from the District

Court for entry of an Order on the “Motion for Leave to Serve a

Third Party Subpoena Prior to a Rule 26(f) Conference” [Doc. No.

4] filed by plaintiff, Strike 3 Holdings, LLC. The Court exercises

its discretion to decide plaintiff’s motion without oral argument.

See Fed. R. Civ. P. 78; L. Civ. R. 78.1.

      For the reasons set forth by the District Court,

      IT   IS   HEREBY   ORDERED    this    ___   day   of   July   2020    that

plaintiff’s “Motion Seeking Leave to Serve a Third Party Subpoena

Prior to a Rule 26(f) Conference” [Doc. No. 4] is GRANTED; and it

is further

      ORDERED that Plaintiff may serve a Rule 45 subpoena on Comcast

Cable Communications, LLC (Comcast Cable), defendant’s ISP, which

assigned the IP address associated with defendant-73.194.76.148.

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In the subpoena plaintiff may only request information regarding

the name and address associated with the IP address. This Order

shall be attached to the subpoena; and it is further

      ORDERED that upon receipt of plaintiff’s subpoena the ISP

shall have thirty (30) days to provide the IP subscriber with a

copy of this Order and plaintiff’s subpoena. Upon receipt of the

subpoena and this Order the IP subscriber has thirty (30) days in

which to file a motion to quash, move for a protective order or

seek other applicable relief. If the IP subscriber chooses to

contest the subpoena he/she must notify the ISP of his/her intent

so the ISP is on notice not to release personal information to

plaintiff until the issue is resolved by the Court; and it is

further

      ORDERED that       if the IP subscriber does not contest the

subpoena within thirty (30) days of receipt of the subpoena and

this Order, the ISP shall provide plaintiff with the requested

information     within    twenty-one       (21)   days.     Any    information

plaintiff receives from the ISP may only be used for the purpose

of protecting its rights as set forth in the complaint.


                                     _____________________________
                                     JOEL SCHNEIDER
                                     United States Magistrate Judge




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